           Case
 Fill in this      15-21020
              information to identifyDoc
                                     the case: Filed         02/18/20      Entered 02/18/20 14:13:06                  Page 1 of 3
B 10 (Supplement 2) (12/11)           (post publication draft)
 Debtor 1              Peter A. Barry
                       __________________________________________________________________

 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                         District of Connecticut
 United States Bankruptcy Court for the: ___________________________BBBBBBB_____

 Case number             15-21020
                        ___________________________________________




Form 4100R
Response to Notice of Final Cure Payment                                                                                                10/15

According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee’s notice of final cure payment.



 Part 1:         Mortgage Information


                                   US Bank Trust National Association, et al.                                Court claim no. (if known):
 Name of creditor:                ______________________________________                                     4-1
                                                                                                             _________________
                                                                                       7 ____
                                                                                     ____ 3 ____
                                                                                              8 ____
                                                                                                 9
 Last 4 digits of any number you use to identify the debtor’s account:

 Property address:                195 South Main Street
                                  ________________________________________________
                                  Number     Street

                                  _______________________________________________

                                  East Granby, CT 06026
                                  ________________________________________________
                                  City                        State    ZIP Code



 Part 2:         Prepetition Default Payments

  Check one:

  
  ✔     Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim.

       Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date               $ __________
        of this response is:


 Part 3:         Postpetition Mortgage Payment

  Check one:

  
  ✔     Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of
        the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

        The next postpetition payment from the debtor(s) is due on:             4/1/2020
                                                                                _________________
                                                                                  MM / DD / YYYY

       Creditor states that the debtor(s) are not current on all postpetition payments consistent with § 1322(b)(5)
        of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.
        Creditor asserts that the total amount remaining unpaid as of the date of this response is:
        D Total postpetition ongoing payments due:                                                                         (a)   $ __________
        E Total fees, charges, expenses, escrow, and costs outstanding:                                                +   (b)   $ __________

        F Total. Add lines a and b.                                                                                        (c)   $ __________
        Creditor asserts that the debtor(s) are contractually
        obligated for the postpetition payment(s) that first became             _________________
        due on:                                                                   MM / DD / YYYY


Form 4100R                                                 Response to Notice of Final Cure Payment                                    page 1
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Debtor 1         Peter A. Barry
                _______________________________________________________                                              15-21020
                                                                                             Case number (if known) _____________________________________
                First Name      Middle Name              Last Name




 Part 4:       Itemized Payment History


  If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the
  debtor(s) are not current with all postpetition payments, including all fees, charges, expenses, escrow, and costs,
  the creditor must attach an itemized payment history disclosing the following amounts from the date of the
  bankruptcy filing through the date of this response:
   all payments received;
   all fees, costs, escrow, and expenses assessed to the mortgage; and
   all amounts the creditor contends remain unpaid.




 Part 5:       Sign Here


  The person completing this response must sign it. The response must be filed as a supplement to the creditor’s
  proof of claim.

  Check the appropriate box::

        I am the creditor.
  
  ✔      I am the creditor’s aWWRUQH\RUDuthorized agent.



 I declare under penalty of perjury that the information provided in this response is true and correct
 to the best of my knowledge, information, and reasonable belief.
 Sign and print your name and your title, if any, and state your address and telephone number if different
 from the notice address listed on the proof of claim to which this response applies.




               8 /s/ Stephanie E. Babin
                   __________________________________________________
                   Signature
                                                                                             Date    2/18/2020
                                                                                                     ____B_____________




 Print              Stephanie                E.            Babin, Esq.
                   _________________________________________________________                       Counsel for U.S. Bank Trust, NA
                                                                                             Title__________________________________BBBBBBB_BBBB
                   First Name                      Middle Name        Last Name




 Company            Demerle Hoeger LLP
                   _________________________________________________________



 If different from the notice address listed on the proof of claim to which this response applies:



 Address            10 City Square
                   _________________________________________________________
                   Number                 Street


                    Boston                            MA       02129
                   ___________________________________________________
                   City                                               State       ZIP Code




 Contact phone      617 _____–
                   (______) 337 _________
                                 4444                                                              SBabin@DHNewEngland.com
                                                                                             Email ________BBBBBBBBBBBBBBB________________




Form 4100R                                                       Response to Notice of Final Cure Payment                                       page 2
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                          UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF CONNECTICUT
                                 HARTFORD DIVISION

 In re:
                                                Chapter 13
 PETER A. BARRY,                                Case No. 15-21020-JJT

           Debtor(s).

                                CERTIFICATE OF SERVICE

          I, Stephanie E. Babin, Esq. of the law firm of Demerle Hoeger LLP, hereby certify

that I have this February 18, 2020 served on behalf of US Bank Trust National

Association, as Trustee of the Igloo Series III Trust, serviced by BSI Financial Services a

Response to Notice of Final Cure Payment and this Certificate of Service by causing

copies hereof to be sent to all parties entitled to service per the Federal Rules of

Bankruptcy Procedure by electronic mail via the Case Management / Electronic Case

Files (ECF) system or by first-class U.S. mail (M) to those not appearing electronically.

 Peter A. Barry                                  Jefferson Hanna, III
 195 South Main Street                           484 Main Street
 East Granby, CT 06026 (M)                       Suite 23
                                                 Middletown, CT 06457 (ECF)
 U. S. Trustee                                   Roberta Napolitano
 Office of the U.S. Trustee                      10 Columbus Boulevard
 Giaimo Federal Building                         6th Floor
 150 Court Street, Room 302                      Hartford, CT 06106 (ECF)
 New Haven, CT 06510 (ECF)
 David A Shaw                                    Victoria L. Forcella
 Marinosci Law Group. P.C.                       Linda St. Pierre
 132 Main Street, Suite 2B                       McCalla Raymer Leibert Pierce, LLC
 Southington, CT 06489 (ECF)                     50 Weston Street
                                                 Hartford, CT 06120 (ECF)

                                               /s/ Stephanie E. Babin, Esq.
                                               Stephanie E. Babin, Esq.
